                           Case 21-33829 Document 1 Filed in TXSB on 12/01/21 Page 1 of 8


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter       7
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                GW Ridge LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  Ben Smith
                                                                                                  c/o CAM Integrated Solutions
                                  135 Technology Drive, Suite 410                                 17000 Katy Freeway, Suite 200
                                  Canonsburg, PA 15317                                            Houston, TX 77094
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Washington                                                      Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  59 Somerset Dr. Eighty-Four, PA 15530
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                           Case 21-33829 Document 1 Filed in TXSB on 12/01/21 Page 2 of 8
Debtor    GW Ridge LLC                                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4860

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                        Chapter 9
     A debtor who is a “small           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a                         Western District of
     separate list.                              District   Pennsylvania                  When    11/22/21                   Case number   21-22520(Involuntary
                                                 District                                 When                               Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                            Case 21-33829 Document 1 Filed in TXSB on 12/01/21 Page 3 of 8
Debtor    GW Ridge LLC                                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Attachment                                               Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                                 Debtor owns a substantial amount of equipment & tools currently secured by a
                                                                 security service. However, continued security will need to be maintained. Additional
                                                                 equipment is located at other locations where 3rd parties have refused to turnover
                                                   Other        the equipment & security of the same is not guaranteed.
                                                                              59 Somerset Dr. ,Eighty-Four, PA, 15530-0000 & 5200 Guernsey, Bellaire,
                                                  Where is the property?      OH 43906
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency    Alliant Insurance Agency
                                                               Contact name        Nick Kuntz
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50     million             $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                                                                       $10,000,000,001 - $50 billion
Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                            Case 21-33829 Document 1 Filed in TXSB on 12/01/21 Page 4 of 8
Debtor   GW Ridge LLC                                                                    Case number (if known)
         Name

                                 $500,001 - $1 million                    $50,000,001 - $100 million             More than $50 billion
                                                                           $100,000,001 - $500 million

16. Estimated liabilities        $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                                 $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                    Case 21-33829 Document 1 Filed in TXSB on 12/01/21 Page 5 of 8

   Debtor    GW Ridge LLC                                                                             Casenumber(ifknoM!) ______________
             Name



             Request for Relief, Declaration, and Signatures

   WARNING - Bankruptcy fraud Is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
             Imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

   17. Declaration and signature
       of authoriDd                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
       representatlvw of debtor
                                    I have been authorized to file this petition on behalf of the debtor.

                                    I have examined the information in this petition and have a reasonable belief that the information is true and correct

                                    I declare under penalty of perjury that the foregoing is true and correct

                                    Executed on



                                                                                                            Ben Smith
                                                                                                            Printed name

                                   Trtle




  18. Signature of attorney    X      /s/ Melissa A. Haselden                                               Date December 1, 2021
                                   Signature of attorney for debtor                                                MM/00/YYYY

                                   Melissa A. Haselden
                                   Printed name

                                   Haselden Farrow PLLC
                                   Firm name

                                   700 MIiam, Suite 1300
                                   Pennzoil Place
                                   Houston TX TT002
                                   Number, Street, City, state & ZIP Code


                                   Contact phone     (832)819-1149                 Email address      mhaselden@haseldenfarrow.com


                                   00794TT8TX
                                   Bar number and State




Official Form 201                          Voluntary Petition for Non-lndlvlduals Flllng for Bankruptcy                                                      page 5
                           Case 21-33829 Document 1 Filed in TXSB on 12/01/21 Page 6 of 8
Debtor     GW Ridge LLC                                                                     Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                   Chapter      7
                                                                                                                      Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Ridge Payroll Holdings, LLC                                             Relationship to you               Affiliate
District   Southern District of Texas                 When                         Case number, if known
Debtor     Ridge Payroll, LLC                                                      Relationship to you               Affilate
District   Southern District of Texas                 When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 6
DocuSign Envelope ID: 7C5AB0D9-330F-4B09-9F9C-9F8DC951F5C7
                       Case 21-33829 Document 1 Filed in TXSB on 12/01/21 Page 7 of 8




                                                  WRITTEN CONSENT
                                             OF THE BOARD OF MANAGERS OF
                                                     GW RIDGE, LLC

                                                    November 15, 2021


                    The undersigned, constituting all the members of the board of managers (the “Board”) of
            GW Ridge, LLC, a Delaware limited liability company (the “Company”), do hereby waive notice
            of a meeting and do hereby consent to, confirm, approve and adopt the actions set forth below,
            effective as of November 15, 2021. All terms used but not otherwise defined herein shall have the
            meanings ascribed to such terms in the Limited Liability Company Agreement of the Company,
            dated as of July 20, 2019, as may be amended and restated from time to time (the “LLC
            Agreement”).

                     RESOLVED, that in accordance with Section 5.9(b)(xvii) of the LLC Agreement,
                     the Board has determined that it is desirable and in the best interests of the Company
                     to immediately cease operations and file for bankruptcy protection under Chapter
                     7 of the Bankruptcy Code with an appropriate federal bankruptcy court sitting in
                     Harris County, Texas where the majority of the Board is located and along with
                     Chapter 7 filings for affiliated entities Ridge Payroll, LLC and Ridge Payroll
                     Holdings, LLC; and

                     RESOLVED, that Ben Smith, Interim CFO/Controller of the Company (“CFO”),
                     in consultation with the Board, is hereby authorized and directed to prepare or cause
                     to be prepared the voluntary petition and to cause the initiation and prosecution of
                     a case under the Bankruptcy Code on behalf of the Company (the “Bankruptcy
                     Case”); and

                     RESOLVED, that the CFO is authorized to prepare or cause to be prepared all
                     other documents, pleadings and other instruments necessary to prosecute the
                     Bankruptcy Case; and

                     RESOLVED, that the Company is authorized and directed to employ and retain
                     the firm of Haselden Farrow, PLLC, Attorneys at Law, to represent the Company
                     in its case under the Bankruptcy Code for a flat fee of $25,000, plus applicable
                     filing fees; and

                     RESOLVED FURTHER, that any and all actions taken by the CFO, managers or
                     officers of the Company, for and on behalf and in the name of this Company, prior
                     to the adoption of the foregoing resolutions, in connection with any of the foregoing
                     matters, be and they are hereby, ratified, confirmed and approved in all respects for
                     all purposes.
DocuSign Envelope ID: 7C5AB0D9-330F-4B09-9F9C-9F8DC951F5C7
                       Case 21-33829 Document 1 Filed in TXSB on 12/01/21 Page 8 of 8




             The undersigned, being all of the members of the Board of the Company, have duly executed
             this Written Consent as of the date first written above.



                                                             BOARD OF MANAGERS:




                                                             DAVID FINAN




                                                             M. ELIZABETH EMANUEL




                                                             CRAIG PIERROTTI




                                                             KARIANN ALEXANDER
